IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

CYNTHIA McKINNEY, et al.,
PLAINTIFFS,
v. CASE NO. C2-08-819
JUDGE ALGENON L. MARBLEY
MAGISTRATE JUDGE MARK R. ABEL
JENNIFER BRUNNER, in her
Official Capacity as Ohio
Secretary of State,
DEFENDANT.

LIBERTARIAN PARTY OF OHIO, et al.,
PLAINTIFFS,
v. CASE NO. C2-08-555
JUDGE EDMUND A. SARGUS, JR.
MAGISTRATE TERENCE P. KEMP
JENNIFER BRUNNER, in her
Official Capacity as Ohio
Secretary of State,
DEFENDANT.

ORDER
The Motion of Defendant, Jennifer Brunner, Secretary of State, to Consolidate
(Doc. 5) in Case No. C2-08-819 and the Motion of Defendant, Jennifer Brunner, Secretary of
State, to Consolidate (Doc. 25), in Case No. C2-08-55 are GRANTED.
Case No. C2-08-819 and Case No. C2-08-555 are hereby CONSOLIDATED and

assigned to Judge Edmund A. Sargus, Jr.

IT IS SO ORDERED.

AL F~ J - 20k

EDMUND). SARGUS, JR.
UNITED STATES DISTRICT JUDGE

